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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
              v.                                 :    CRIMINAL NUMBER:
                                                 :
 ELMER STEWART RHODES III,                       :    22-cr-15-APM
 KELLY MEGGS,                                    :
 KENNETH HARRELSON,                              :
 JESSICA WATKINS,                                :
 ROBERTO MINUTA,                                 :
 JOSEPH HACKETT,                                 :
 DAVID MOERSCHEL,                                :
 THOMAS CALDWELL, and                            :
 EDWARD VALLEJO,                                 :
                                                 :
            Defendants.                          :

                UNITED STATES’ MOTION IN LIMINE REGARDING
             CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESS

       The United States moves to limit the cross-examination of witnesses with the United States

Secret Service, pursuant to Federal Rules of Evidence 401, 403, and 611(b).

                                       INTRODUCTION

       In Count 6 of the Indictment, Defendant Jessica Watkins is charged with violating 18

U.S.C. § 231 by obstructing, impeding, and interfering with, or attempting to obstruct, impede, or

interfere with, law enforcement officers during the breach of the United States Capitol on January

6, 2021. To meet its burden of proof at trial, the government will call a witness from the United

States Secret Service to testify that at the time of the Capitol breach, Secret Service agents were

on duty to protect Vice President Michael R. Pence and his two immediate family members, all of

whom were present at the Capitol. These officials will further testify about the Capitol breach’s

effect on the Secret Service’s protection of Vice President Pence and his family members.

       However, the very nature of the Secret Service’s role in protecting the Vice President and
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his family implicates sensitive information related to that agency’s ability to protect high-ranking

members of the Executive branch and, by extension, national security. Thus, the government seeks

an order limiting the cross-examination of the Secret Service witnesses to questioning about the

function performed by the Secret Service as testified to on direct examination—in this case

protecting the Vice President and his family. The defendant should be specifically foreclosed from

questioning the witnesses about the following:

       1. Secret Service protocols related to the locations where protectees or their motorcades

            are taken at the Capitol or other government buildings when emergencies occur;

       2. Details about the nature of Secret Service protective details, such as the number and

            type of agents the Secret Service assigns to protectees.

                                           ARGUMENT

       I.      This Court Has the Discretion to Limit Cross-Examination of Witnesses at
               Trial

       It is well-established that a district court has the discretion to limit cross examination. See

Alford v. United States, 282 U.S. 687 (1931) (“The extent of cross-examination [of a witness] with

respect to an appropriate subject of inquiry is within the sound discretion of the trial court.”). A

court has the discretion to prohibit cross-examination that goes beyond matters testified to on direct

examination. Fed. R. Evid. 611(b). This is particularly so when the information at issue is of a

sensitive nature. See, e.g., United States v. Balistreri, 779 F.2d 1191, 1216-17 (7th Cir. 1985)

(upholding district court’s decision to prohibit cross-examination of agent about sensitive

information about which that agent did not testify on direct examination and which did not pertain

to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d 788 (7th Cir.

2016). Other permissible reasons for limiting cross-examination include preventing harassment,




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prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant questioning.

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       The Confrontation Clause only guarantees “an opportunity for effective cross-examination,

not cross-examination that is effective in whatever way, and to whatever extent, the defense might

wish.” Delaware v. Fensterer, 474 U.S. 15, 20 (1985). Even evidence that may be relevant to an

affirmative defense should be excluded until the defendant sufficiently establishes that defense

through affirmative evidence presented during his own case-in-chief. See United States v. Lin, 101

F.3d 760, 768 (D.C. Cir. 1996) (acknowledging trial court has discretion to limit cross-examination

on prejudicial matters without reasonable grounding in fact); United States v. Sampol, 636 F.2d

621, 663-64 (D.C. Cir. 1980) (holding that trial court properly limited cross-examination of alleged

CIA murder scheme until defense put forth sufficient evidence of the affirmative defense in its

case-in-chief); United States v. Stamp, 458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court

properly excluded cross examination of government’s witness with response to matter only related

to an affirmative defense and not elicited through direct exam). Preventing the defendant from

exploring the topics identified above will not infringe her Confrontation Clause right because those

topics are not relevant to an element at issue in the case, provide no basis for impeaching the Secret

Service witness, and do not implicate any affirmative defense.

       II.     Cross-Examination of Secret Service Witnesses Should Be Limited to the
               Riot’s Effect on Their Functions

         To prove the charges, the government intends to offer limited testimony about the Secret

 Service’s protection of certain officials on January 6, 2021. First, to establish a violation of

 18 U.S.C. § 231(c)(3), the government must prove, among other things, that a civil disorder

 interfered with a federally protected function. 18 U.S.C. § 231(c)(3); United States v. Red

 Feather, 392 F. Supp. 916, 918-19 (D. S.D. 1975). A “federally protected function” includes

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    any lawful function, operation, or action by a federal agency or officer. 18 U.S.C. § 232(3). Thus,

    the government must prove that the January 6 breach interfered with a federal agency or federal

    officer’s performance of lawful duties. To meet this element, the government intends to offer the

    testimony that pursuant to authority under 18 U.S.C. § 3056(a)(1), on January 6, 2021, Secret

    Service agents were at the Capitol to protect Vice President Pence and two members of his

    immediate family.1 A Secret Service official is further expected to explain how the events at the

    Capitol on that date affected the Secret Service’s ability to protect Vice President Pence and his

    family.

          Cross-examination of Secret Service witnesses about extraneous matters beyond the scope

of direct examination should be excluded as irrelevant or unduly prejudicial. Indeed, the Secret

Service’s general p2rotocols about relocation for safety should be excluded as irrelevant because

such evidence does not tend to make a fact of consequence more or less probable. Fed. R. Evid.

401 (defining relevant evidence). Similarly, evidence of the nature of Secret Service protective

details is not relevant in this case. The number or type of assigned agents on a protective detail

does not alter the probability that the Capitol and its grounds were restricted at the time of the

events in question. None of the other elements to be proven, or available defenses, implicates

further testimony from the Secret Service.

          Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, mini-trials, undue delay, and

waste of time. See United States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005) (finding

that information having broader national security concerns can be excluded under Rule 403


1
 The Secret Service is authorized to protect the Vice President and his immediate family. 18
U.S.C. §§ 3056(1) and (2).
2


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because its tendency to confuse the issues, mislead the jury, create side issues or a mini-trial can

result in undue prejudice that substantially outweighs any probative value). Broader cross-

examination of Secret Service witnesses could compromise national security by needlessly

publicizing certain methods, manners, and protocols without adding any appreciable benefit to the

determination of the truth, or the veracity or bias of witnesses. Id.

   III.      The Government Requests an In Camera Proceeding to Determine the
             Admissibility of Certain Evidence

          If this court determines that a hearing is necessary to determine the admissibility of

testimony by a witness from the Secret Service, the government requests the hearing be conducted

in camera and ex parte. As noted, in this case, disclosure of certain information could prove

detrimental to the Secret Service’s ability to protect high-level government officials and affect our

national security. Courts have found that such considerations justify ex parte, in camera

proceedings. See Gilmore v. Palestinian Interim Self-Gov’t Auth., 843 F.3d 958, 968 (D.C. Cir.

2016) (finding that while ex parte proceedings should be employed to resolve discovery disputes

only in extraordinary circumstances, they are appropriate where disclosure could lead to

substantial adverse consequences, such as where a party sought intelligence materials generated in

the midst of a geopolitical conflict); United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming

district court’s order for in camera inspection of subpoenaed presidential materials); United States

v. Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that in camera ex parte proceedings

to evaluate bona fide Government claims regarding national security information are proper.”); In

re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977) (finding that in camera proceedings “serve to

resolve, without disclosure, the conflict between the threatened deprivation of a party’s

constitutional rights and the Government’s claim of privilege based on the needs of public

security.”); United States v. Brown, 539 F.2d 467, 470 (5th Cir. 1976) (per curiam) (same).

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                                        CONCLUSION

       For these reasons, the United States requests that this court enter an order, as described

above, limiting cross-examination of any witness with the Secret Service. If this court determines

an evidentiary hearing is necessary to rule on this motion, the government asks that the hearing be

held in camera and ex parte.

                                             Respectfully submitted,

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